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9                         UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11                                  Southern Division
12
      SECURITIES AND EXCHANGE                    Case No. 8:19-cv-01559-JLS-JDE
13    COMMISSION,
                                                 PLAINTIFF SECURITIES AND
14                 Plaintiff,                    EXCHANGE COMMISSION’S
                                                 MEMORANDUM OF CONTENTIONS
15           vs.                                 OF FACT AND LAW
16    STUART FROST AND FROST                     Date:      July 16, 2021
      MANAGEMENT COMPANY, LLC,                   Time:      10:30 a.m.
17                                               Ctrm:      10A
                   Defendants.                   Judge:     Hon. Josephine L. Staton
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 1   I.     INTRODUCTION
 2          Pursuant to Local Rule 16-4, and the Court’s Amended Civil Trial Order (Dkt.
 3 Nos. 24 & 31), Plaintiff Securities and Exchange Commission (“SEC”) hereby
 4 submits this Memorandum of Contentions of Fact and Law.
 5   II.    PROCEDURAL HISTORY
 6          The SEC’s complaint, filed on August 13, 2019, alleges that Frost Management
 7   Company, LLC (“FMC”), an exempt reporting adviser to five private venture capital
 8   funds, and its sole owner, Stuart Frost (“Frost”) (collectively “Defendants”), violated
 9   Sections 206(1), 206(2), and 206(4) of the Investment Advisers Act of 1940
10 (“Advisers Act”), 15 U.S.C. §§ 80b-6(1), 80b-6(2), 80b6(4), and Rule 206(4)-8
11   thereunder, 17 C.F.R. § 275.206(4)-8. (Dkt. No. 1.) In substance, the complaint
12   alleges that Defendants breached their fiduciary duties as investment advisers and
13   engaged in a scheme to defraud their advisory clients, consisting of five private
14   venture capital funds and the funds’ individual investors. Defendants are alleged to
15   have done this by: (1) charging over $14 million in undisclosed and excessive
16   incubator fees to start-up companies in which the funds had invested; (2) not
17   disclosing the actual amount of incubator fees that the companies paid Frost’s
18   company, Frost Data Capital, LLC (“FDC”): (3) creating more portfolio companies to
19   generate even more excessive fees, and (4) charging some funds undisclosed
20   management fees that were not earned and were paid to FMC and Frost. (Id. at ¶¶ 4.
21   50.)
22          The SEC’s case was filed after a 17-day arbitration hearing, initiated by
23   Defendants, entitled Frost Management Company, et al. v. Hollencrest Bayview
24   Partners, LP et al., JAMS No. 120005234, which involved essentially the same
25   underlying conduct, breaches of fiduciary duties and scheme to defraud at issue in
26   this action. That arbitration was preceded by an approximate 10-month period of fact
27   discovery, in which 35 witnesses were deposed. The arbitrator, Hon. Stephen J.
28 Sundvold (Ret.), found that Frost breached his fiduciary duties, committed fraud, and

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 1   acted at least recklessly in managing two of the five private venture capital funds that
 2   are at issue in this action.
 3          On March 26, 2021, the SEC moved for summary judgment as to liability and
 4   injunctive relief against Defendants based, in part, on the extensive evidentiary record
 5   and arbitration award entered against Defendants. (Dkt. No. 45.) The SEC contends
 6   that the arbitration proceeding involved the same underlying facts, breaches of
 7   fiduciary duty, and material misstatements and omissions that are pled in the SEC’s
 8   complaint. (Id.) The SEC has asked the Court to grant summary judgment under the
 9 collateral estoppel doctrine. (Id.) The Court is scheduled to hear the SEC’s motion
10 for summary judgment on August 20, 2021. Defendants’ opposition to the SEC’s
11   motion for summary judgment is due to be filed on or before July 30, 2021.
12          The SEC seeks entry of permanent injunctions against Defendants from
13   committing future violations of the above statutory and regulatory provisions. The
14   SEC also seeks an order requiring the disgorgement of all ill-gotten gains, together
15   with prejudgment interest thereon, and the payment of civil penalties. See 15 U.S.C.
16   §§ 80b-9(e).
17 III.     PLAINTIFF’S CLAIMS
18          A.      Summary Statement of Each Claim
19         1.       Claim One – Claim One alleges that Defendants violated Sections
20 206(1) and (2) of the Advisers Act through material misstatements and omissions, and
21 breaches of fiduciary duties to the Funds and the Funds’ investors, by failing to
22 disclose material information and conflicts of interest regarding the incubator fees that
23 were being paid using investor funds, including:
24                  (a)   failing to disclose to the Frost VP Seed, LLC (the “Seed Fund”),
25 the Frost VP Seed International, LLC (the “International Seed Fund”), and the FVP
26 International Feeder Fund L.P. (the “International Feeder Fund”), that the portfolio
27 companies in which they invested would be charged incubator fees;
28                  (b)   failing to disclose to the Funds that the portfolio companies would

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 1   be charged flat-rate incubator fees as opposed to incubator fees charged on a case-by-
 2   case basis, or at or below market rates;
 3                (c)   failing to disclose the amount of incubator fees actually charged to
 4   the portfolio companies in quarterly status reports provided to the Funds’ investors;
 5                (d)   failing to disclose the existence or the amount of incubator fees
 6   actually charged to the portfolio companies to the Funds’ advisory committees;
 7                (e)   failing to disclose to the Funds that Frost created some of the new
 8   portfolio companies for the principal purpose of generating additional incubator fees
 9   to cover FDC’s overhead and Frost’s extravagant personal expenses; and
10                (f)   charging the portfolio companies in which the Funds invested
11   over $14 million in excessive incubator fees.
12        In addition, Claim One alleges that Defendants charged the Seed Fund and
13   International Seed Fund undisclosed management fees of $402,875 and improperly
14   charged the Frost VP Early Stage Fund II, LP (“Fund II”) over $1.7 million in
15   management fees that should have been offset by the excessive incubator fees
16   charged.
17        2.      Claim Two – Claim Two alleges that Defendants violated Section 206(4)
18 of the Advisers Act and Rule 206(4)-8(a)(1)-(a)(2) thereunder, by repeatedly
19 defrauding investors in the Funds in failing to disclose the existence of and/or the
20 amount of incubator fees and management fees, thus making the Funds’ governing
21 agreements, pitch materials, and quarterly status reports misleading. In addition, the
22 complaint alleges that Defendants engaged in multiple years of deceptive conduct by
23 charging undisclosed, excessive and/or improper incubator and management fees and
24 by starting new portfolio companies to generate additional incubator fees to cover
25 FDC’s overhead and Frost’s personal expenses.
26         B.     Elements Required to Establish Each Claim
27                1.    Claim One – Sections 206(1) and 206(2) of the Advisers Act
28         For its claims under Section 206(1) and (2), the SEC has the burden of proving

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1    each of the following elements by a preponderance of the evidence:
2          1.      Defendants were investment advisers;
3          2.      Defendants utilized the mails or interstate commerce to employ a device,
4 scheme, or artifice defraud;
5          3.      Defendants’ device, scheme or artifice to defraud violated their
6    fiduciary duty to their advisory clients in that it included false and misleading
7    statements or omissions of material fact; and
8          4.      Defendants acted with scienter, for purposes of Section 206(1), and with
9    scienter or negligence, for purposes of Section 206(2). .
10   See 15 U.S.C. §§ 80b-6(1) & 80b-6(2).
11                       a.     Investment Adviser
12         “People who manage[] the funds of others for compensation are ‘investment
13   advisers’ within the meaning of the [Advisers Act].’” SEC v. Haligiannis, 470 F.
14   Supp. 2d 373, 383 (S.D.N.Y. 2007) (quoting Abrahamson v. Fleschner, 568 F.2d 862,
15   870 (2d Cir. 1977)) (president/COO of investment adviser who had exclusive control
16   over the management, operation, and investment decisions of hedge fund was an
17   investment adviser under the Advisers Act). An investment adviser is a fiduciary
18   with “an affirmative duty of utmost good faith, and full and fair disclosure of all
19   material facts, as well as an affirmative obligation to employ reasonable care to avoid
20   misleading his clients.” SEC v. Capital Gains Research Bureau, Inc., 375 U.S. 180,
21   194 (1963).
22                       b.     Misrepresentation
23         A misrepresentation is a statement of material fact that is false or misleading
24   when it is made. A statement may be misleading even if it is literally true if the
25   context in which the statement was made caused the listener or reader to remain
26   unaware of the actual state of affairs. See Ninth Circuit Manual of Model Jury
27   Instructions (2007): Civil § 18.0 (definition of recurring terms). An investment
28   adviser’s failure to disclose material information constitutes “fraud or deceit” under

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1    the Advisers Act. Monetta Fin. Servs., Inc. v. SEC, 390 F.3d 952, 955 (7th Cir. 2003)
2    (citing Capital Gains, 375 U.S. at 200). Courts have held that an investment
3    adviser’s potential conflicts of interest are material and must be disclosed. Vernazza
4    v. SEC, 327 F.3d 851, 859 (9th Cir. 2003) (citing Capital Gains, 375 U.S. at 201);
5    SEC v. Wall Street Publ’g Inst., Inc., 591 F. Supp. 1070, 1084 ((D.D.C. 1984) (failure
6    to disclose an economic self-interest constitutes a breach of an investment adviser’s
7    fiduciary duty under Section 206).
8                       c.     Scienter
9          Scienter under Section 206(1) requires a showing that the defendant acted
10   knowingly or recklessly. It does not require a showing of ‘willful intent to
11   defraud.’” Vernazza, 327 F.3d at 860; Hollinger v. Titan Capital Corp., 914 F.2d
12   1564, 1568-69 (9th Cir. 1990). It can be shown by either “deliberate recklessness” or
13   “conscious recklessness,” and may be inferred from circumstantial evidence. SEC v.
14   Platforms Wireless, 617 F.3d 1072, 1092 (9th Cir. 2010); Herman & MacLean v.
15   Huddleston, 459 U.S. 375, 390-91, n.30 (1983); SEC v. Burns, 816 F.2d 471, 474 (9th
16   Cir. 1987).
17         A defendant acts knowingly when he makes an untrue statement with the
18   knowledge that the statement was false or with reckless disregard for whether the
19   statement was true. A defendant also acts knowingly if he or she omits necessary
20   information with the knowledge that the omission would make the statement false or
21   misleading or with reckless disregard for whether the omission would make the
22   statement false or misleading. See Ninth Circuit Manual of Model Jury Instructions
23   (2007): Civil § 18.3 (definition of “knowingly”).
24         Recklessness means highly unreasonable conduct that is an extreme departure
25   from ordinary care, presenting a danger of misleading investors, which is either
26   known to the defendant or is so obvious that the defendant must have been aware of
27   it. See id., Civil § 18.3 (discussed in definition of “knowingly”).
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 1                      d.     Negligence
 2         A violation of Section 206(2) only requires a showing of simple negligence.
 3   See SEC v. Steadman, 967 F.2d 636, 641-43 n.5 (D.C. Cir. 1992); see also Vernazza
 4 v. SEC, 327 F.3d at 860 . A person acts “negligently” when he or she fails to act with
 5 reasonable prudence or fails to conform to the standard of care that would be
 6 exercised by a reasonable person. See SEC v. GLT Dain Rauscher, Inc., 254 F.2d
 7 852, 856 (9th Cir. 2001).
 8                      e.     Instrumentality of interstate commerce
 9         An instrumentality of interstate commerce includes the postal mails, e-mails,
10 telephone, telegraph, telefax, interstate highway system, Internet and similar methods
11 of communication and travel from one state to another within the United States. See
12 Ninth Circuit Manual of Model Jury Instructions (2007): Civil § 18.0 (modified)
13 (definition of recurring terms).
14               2.     Claim Two – Section 206(4) of the Advisers Act and Rule
15                      206(4)-8 Thereunder
16         For its claim under Section 206(4) of the Advisers Act and Rule 206(4)-8
17 thereunder, the SEC has the burden of proving each of the following elements by a
18 preponderance of the evidence:
19         1.    Defendants were the investment advisers of a pooled investment vehicle;
20         2.    Defendants utilized the mails or interstate commerce;
21         3.    Defendants made an untrue statement of material fact to an investor or
22 prospective investor in the pooled investment vehicle or omitted a material fact
23 necessary under the circumstances to keep the statement that was made from being
24 misleading; and
25         4.    Defendants acted with at least negligence.
26 See 15 U.S.C. §§ 80b-6(4); 17 C.F.R. § 275.206(4)-8.
27         Rule 206(4)-8(a)(1) provides that it is a fraudulent practice for an investment
28 adviser to make any untrue statement of a material fact to an investor or prospective

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 1   investor in a pooled investment vehicle, or to omit to state a material fact necessary to
 2   make the statement made, in light of the circumstances under which they were made,
 3   not misleading. Rule 206(4)-8(a)(2) provides that it is a fraudulent practice for an
 4   investment adviser to a pooled investment vehicle to engage in “fraudulent,
 5   deceptive, or manipulative” conduct with respect to any investor or prospective
 6   investor in the pooled investment vehicle. 17 C.F.R. § 275.206(4)-8a(1)-(2).
 7 Scienter is not required for violations of Section 206(4) or Rule 206(4)-8 thereunder.
 8 Steadman, 967 F.2d at 647; see also SEC v. Quan, 11-cv-723 (ADM), 2013 WL
 9 556252, at *16 (D. Minn. Oct. 8, 2013) (applying Steadman to Rule 206(4)-8); SEC
10 v. Yorkville Advisors, LLC, No. 12 Civ. 7728 (GBD), 2013 U.S. Dist. LEXIS 110624
11 *3 (S.D.N.Y. Aug. 2013) (SEC must establish at least negligence to prove violations
12 of 206(2) and 206(4)); Advisers Act Rel. No. 2628 at 23-24.
13         C.      Brief Description of Key Evidence in Support of Each Claim
14                1.    Claims One and Two
15                      a.     The Offering Documents and Marketing Materials
16         At the heart all of the SEC’s claims against Frost and FMC is the allegation
17 that they breached their fiduciary duties to the fund investors by failing to disclose
18 material information and conflicts of interest regarding the nearly $22 million in
19 incubator fees that were paid using investor funds. Therefore, as to both Claims One
20 and Two, in order to show the lack of disclosure, the SEC will rely primarily on the
21 offering documents and marketing materials for the various funds, which Frost and
22 FMC disseminated to investors. These offering documents and marketing materials
23 will include the PowerPoint presentations made to investors, operating and
24 partnership agreements signed by investors, various email exchanges between Frost
25 and investors, and executive summaries provided to investors. The SEC anticipates
26 that it will call investors who received these documents and that they will testify that
27 these documents failed to disclose the existence of or the actual amount of incubator
28 fees being paid using investors funds.

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1          For example, the SEC anticipates that it will show in connection with one of
2    the funds, the Seed Fund, that investors received the Frost VP Seed, LLC Amended
3    and Restated Operating Agreement (the “Seed Fund Agreement”). The SEC will
4    show that the Seed Fund Agreement does not authorize the manager of the Seed
5    Fund, that is Frost Management Company (“FMC”), to collect a management fee. It
6    merely authorizes payment by the Seed Fund to reimburse the managers “out-of-
7    pocket” expenses. Although the Seed Fund Agreement identifies FDC (“the
8    Incubator”), and that investment opportunities in companies formed by the Incubator
9    (“Portfolio Companies”) will be offered to the Seed Fund, nowhere does the Seed
10   Fund Agreement disclose to investors or otherwise authorize that the Seed Fund will
11   be responsible for payment of the Incubator’s expenses, the payment of the Portfolio
12   Companies fees paid to the Incubator, or the dollar amount of any such fees.
13         To further show the lack of disclosure about the fees being paid with investor
14   money from the Seed Fund, the SEC anticipates it will introduce marketing materials
15   that were provided to investors in connection with the Seed Fund. These marketing
16   materials led investors to believe the Incubator would provide services pursuant to
17   arms-length transactions between the Incubator and the Portfolio Companies, and in a
18   capital efficient manner:
19                It is expected that the services provided from the incubator to the
                  startup companies will be agreed to between the Boards of each
20                individual company and [the incubator] on a case-by-case basis, and
                  are expected to be adjusted based on the individual needs of each
21                company as their business matures. [The incubator’s] policy will be
                  to only charge for services that the startup companies would require
22                in the normal course of business. In general, this should mean that
                  the startups receive higher quality services at a lower price than they
23                would otherwise be able to afford (due to [the incubator’s] ability to
                  provide economies of scale.
24
     The SEC anticipates the marketing materials will also show that Frost touted a “lean”
25
     start-up approach: “Our approach is to ensure that each company is highly capital
26
     efficient, especially in the earlier stages.” Frost further represented that the
27
     Incubator’s mode was “based on the popular Lean Startup methodology.” The SEC
28

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 1   anticipates it will show that this methodology emphasizes that start-ups should spend
 2   only what is necessary in their early stages, and that Frost touted that this process
 3   “allows us to bring new products to market very quickly and with modest initial
 4   investments.”
 5         Similarly, the SEC anticipates that it will show in connection with the Frost VP
 6   Early Stage Fund II, L.P., Limited Partnership Agreement (the “Fund II Agreement”)
 7   that, unlike the Seed Fund Agreement, it authorized the Fund II general partners to
 8   collect a management fee of two percent (2%) per year. All “normal operating
 9   expenses” incurred in connection with the management of Fund II were to be paid
10 from the management fee, including salaries, wages, travel, entertainment, overhead,
11 rent, office expenses, and other expenses incurred in managing the investments of
12 Fund II. The Fund II Agreement, unlike the Seed Fund Agreement, states that the
13 Incubator “may receive a monthly fee” from the Portfolio Companies in exchange for
14 certain shared services (“Service Fee”). However, the Service Fee would reduce the
15   amount of the management fee defendants were entitled to receive unless “such
16 Service Fee [did] not exceed reasonable market rates.” The SEC anticipates that it
17   will show none of the Frost entities ever bothered to research market rates and that
18   what Frost and FMC charged the Portfolio Companies far exceeded market rates such
19   services.
20                       b.    Expert Witnesses
21         To show that these and other representations in the offering documents and
22   marketing materials were materially false and misleading, the SEC anticipates it will
23 call three expert witness: David B. Weekly, Alex Malecki and Keith Palzer. The
24 SEC anticipates that Weekly, a certified public accountant, will testify, in substance,
25 that investor funds were spent in a manner that was inconsistent with and beyond the
26 representations made in the offering documents and the marketing materials for the
27 funds. According to his expert report, the SEC anticipates Weekly will testify that
28 the total excess incubator expenses paid to FDC through December 31, 2017 was

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 1   $15,440,841 and that, of this amount, the excess fees attributable to investor funds
 2 was $12,798,195. The SEC anticipates that Weekly will also testify about how much
 3 money Frost was paid by the Incubator, which was at least $2,983,685 according to
 4   his expert report.
 5         The SEC anticipates that Malecki, an expert with specialized knowledge of
 6   standard industry practices involving the incubation of startup companies, the
 7   services typically provided by the incubator to portfolio companies, and the
 8   reasonable costs and fees for such services, will testify, in substance, that the fees the
 9   Incubator charged the Portfolio Companies, which were typically in the range of
10 $35,000 to $40,000 per month, were excessive and not in accord with industry
11 standards. In other words, the fee agreements would not be categorized as an “arms-
12 length” transaction, were not for services that startup companies would require in the
13 normal course of business, and the Incubator’s flat rate, “one size fits all” fee model
14 was not consistent with industry standards.
15         Palzer is an expert with specialized knowledge in investment fund manager
16   governance, management, and operations, including private fund alternative
17   investment vehicles such as private equity, venture capital, hedge, private credit,
18   structured credit, commodity, managed futures, and other funds. The SEC anticipates
19   that he will testify, in substance, that Frost and FMC failed to meet investment fund
20   management industry standards in failing to disclose to investors in the Seed Funds
21   that the Portfolio Companies in which the funds invested would be charged service
22   fees by the Incubator. The SEC anticipates he will further testify that Frost failed to
23   comply with industry standards by (i) selling securities issued by the Portfolio
24   Companies to the funds without obtaining proper consent; (ii) neglecting to convene
25 or utilize “limited partner advisory committees” (“LPACs”); (iii); and (iv) failing to
26 cause the funds to issue financial reports as required by the organizational documents.
27                        c.    Lay Witnesses
28         The SEC anticipates calling several lay witnesses, including Fund investors

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 1   and several of the chief executive officers (“CEOs”) of the Portfolio Companies, who
 2   will further demonstrate that representations in the offering documents and marketing
 3   materials were materially false and misleading, and that the incubator fees charged to
 4 the Portfolio companies were excessive. For example, the SEC anticipates that
 5 several of the CEOs of the Portfolio Companies will testify that they consistently
 6 complained that the fees charged by the Incubator did not reflect the value received
 7 from the Incubator. One or more are anticipated to describe the fees as “inflated” and
 8 that they valued the services at a fraction of what they were paying. The SEC
 9 anticipates that the CEOs will also testify that the services provided and the fees
10 charged by the Incubator were non-negotiable and that even though they objected to
11 paying them they were required to pay nonetheless. Finally, to show the fees were
12 not adjusted based on the individual needs of each company as their business
13 matured, the SEC anticipates the CEO witnesses will testify that when they asked for
14 a breakdown or accounting of how the fees were calculated, their requests were
15 repeatedly rejected. One or more of the CEOs are expected to testify that when they
16 tried to negotiate a lower fee based on the services the company needed, Frost
17 responded by stating that “[the Incubator] does not offer its services on some kind of
18 a la carte basis. It’s prix fixe only.”
19          D.     Anticipated Evidentiary Issues
20          The SEC has filed three in limine motions to preclude defendants Frost and
21 FMC from offering certain evidence and/or arguments at trial. One of the motions
22 seeks to preclude Defendants from offering two experts’ testimony at trial. Dkt. No.
23 61. The SEC’s second in limine motion seeks to preclude Defendants from offering
24 any evidence or argument at trial that they reasonably relied on the advice or presence
25 of counsel. Dkt. No. 62. In its third in limine motion, the SEC seeks to preclude
26   Defendants from offering any evidence or argument at trial regarding an unsigned
27   version of an operating agreement related to the Seed Fund. Dkt. No. 63.
28

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 1          E.     Issues of Law
 2                 1.    Standards of Proof
 3          Section 206(1) and 206(2) of the Advisers Act make it unlawful for an
 4   investment adviser to employ any device, scheme, or artifice to defraud any client or
 5 prospective client or to engage in any transaction, practice, or course of business
 6 which operates as a fraud or deceit upon any client or prospective client. Scienter is
 7   required for Section 206(1) and may be established by showing knowing or reckless
 8   conduct, while Section 206(2) can be satisfied by a showing of simple negligence.
 9   See SEC v. Steadman, 967 F.2d at 641-43 n.5 ; see also Vernazza, 327 F.3d at 860.
10   Section 206(4) of the Advisers Act and Rule 206(4)-8 thereunder prohibit an
11 investment adviser from, directly or indirectly, engaging in any act, practice, or
12 course of business that is fraudulent, deceptive, or manipulative. The SEC must
13 establish at least negligence to prove a violation of 206(4); Advisers Act Rel. No.
14 2628 at 23 - 24.
15          As a threshold matter, both FMC and Frost are investment advisers. Section
16 202(a)(11) of the Advisers Act defines an “investment adviser” as “any person who,
17 for compensation, engages in the business of advising others . . . as to the value of
18 securities or as to the advisability of investing in, purchasing, or selling securities. . .
19 .” FMC meets this definition because it provided investment advice for fees that it
20 charged; it also registered as an exempt reporting adviser that registered with
21 California in 2012. This fact is not is dispute.
22          Frost also meets the definition of investment adviser. Courts have held that
23 “‘people who manage[] the funds of others for compensation are ‘investment
24 advisers’ within the meaning of the [Advisers Act].’” SEC v. Haligiannis, 470 F.
25 Supp. 2d 373, 383 (S.D.N.Y. 2007) (quoting Abrahamson v. Fleschner, 568 F.2d 862,
26 870 (2d Cir. 1977)); accord SEC v. Nutmeg Grp., LLC, 162 F. Supp. 3d 754, 772
27 (N.D. Ill. 2016) SEC v. ABS Manager, LLC, No. 13cv319-GPC(BGS), 2014 U.S.
28 Dist. LEXIS 175071, at 10 (S.D. Cal. Dec. 18, 2014; SEC v. Berger, 244 F. Supp. 2d

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 1   180, 193 (S.D.N.Y. 2001. Here, Frost is the sole owner and managing member of
 2   FMC as well as the sole owner of the managing members and general partners of the
 3   Funds, and he received compensation for giving advice to the funds through those
 4   ownership interests and in directing the funds’ investments in the portfolio
 5   companies. Again, these facts are not in dispute.
 6         An investment adviser is a fiduciary with “an affirmative duty of utmost good
 7   faith, and full and fair disclosure of all material facts, as well as an affirmative
 8   obligation to employ reasonable care to avoid misleading his clients.” Capital Gains,
 9 375 U.S. at 194 . An investment adviser’s failure to disclose material information
10 constitutes “fraud or deceit” under the Advisers Act. Monetta , 390 F.3d at 955
11 (citing Capital Gains, 375 U.S. at 200). Courts have held that an investment
12 adviser’s potential conflicts of interest are material and must be disclosed. Vernazza,
13 327 F.3d at 859 (citing Capital Gains, 375 U.S. at 201); see also IMS/CPAs &
14 Assocs., Securities Act Rel. No. 8031, 2001 SEC LEXIS 2323, at *31 (Nov. 5, 2001)
15 (Commission op.) (“economic conflicts of interest, such as undisclosed
16 compensation, are material facts that must be disclosed”); Wall Street Publ’g Inst.,
17 591 F. Supp. at 1084 (failure to disclose an economic self-interest constitutes a
18 breach of an investment adviser’s fiduciary duty under Section 206).
19         The SEC does not have to prove that Defendants were registered advisers with
20 SEC in order to prove any of its Section 206 violations. These violations apply to
21 any “investment adviser,” regardless of their registration status.
22         The SEC must prove that Defendants’ breaches of fiduciary duty were
23 material. The standard for “materiality under the Advisers Act is whether there is a
24 substantial likelihood that a reasonable investor (here, client) would have considered
25 the information [at issue] important.” Amendments to Form ADV, Advisers Act Rel.
26 No. 3060, 2010 SEC LEXIS 2679, at *23 n.35 (Aug. 12, 2010); see also Steadman,
27 603 F.2d at 1130 . Based on the evidence the SEC expects to present, any reasonable
28 investor would consider it important when deciding whether to invest to know that

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 1   the portfolio companies in which they had invested were paying undisclosed or
 2   improperly charged incubator fees that diminished the portfolio companies’ assets.
 3   Investors would also have considered it important to know that some of the portfolio
 4   companies in which they were invested were not created because Frost thought these
 5   companies could pursue new and viable ideas but were created to generate additional
 6   incubator fees to cover Frost’s extravagant personal expenses. Similarly, investors
 7   would have considered it important to know of the undisclosed and/or improperly
 8   charged management fees because paying these fees directly impacted the Funds’
 9 assets.
10         The same evidence showing that Frost knowingly and/or recklessly breached
11 his fiduciary duties to the Funds also demonstrates his scienter. See, e.g., Vernazza,
12 327 F.3d at 860; SEC v. Ahmed, 308 F. Supp. 3d 628, 655 (D. Conn. 2018); SEC v.
13 Mack, CV-1008383 DSF(PSWx), 2021 U.S. Dist. LEXIS 200288, at *6 (C.D. Cal.
14 Aug. 7. 2012).
15         Further, for purposes of Frost’s liability under 206(2) and 206(4) of the
16 Advisers Act and Rule 206(4)-8, there can be no question that Frost acted at least
17 negligently by falling below the standard of care expected of an investment adviser
18 through his self-dealing. For an investment adviser, the standard of care is based on
19 its fiduciary duty. SEC v. Capital Gains, 375 U.S. at 191-92. Because Frost
20 controlled FMC, his scienter and negligence can be imputed to the firm. See, e.g., In
21 re ChinaCast Educ. Corp. Sec. Litig., 809 F.3d 471, 476 (9th Cir. 2015) (scienter of
22 senior controlling officers may be imputed to corporation).
23                2.    A permanent injunction is appropriate
24         To obtain an permanent injunction, the SEC must establish that there is a
25 reasonable likelihood of future violations. See SEC v. Murphy, 626 F.2d 633, 655
26 (9th Cir. 1980). Whether a likelihood of future violations exists depends upon the
27 totality of the circumstances. Id. The existence of past violations may give rise to an
28 inference that there will be future violations. Id. Courts also consider factors such as

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 1   the degree of scienter involved, the isolated or recurrent nature of the violative
 2   conduct, the defendant’s recognition of the wrongful nature of the conduct, the
 3   likelihood that, because of the defendant’s occupation, future violations may occur,
 4   and the sincerity of defendant’s assurances (if any) against future violations. See
 5   Murphy, 626 F.2d at 655. For all of the reasons set forth above, permanent
 6   injunctions are appropriate.
 7                3.     Disgorgement Should Be Ordered
 8         Disgorgement is designed to deprive a wrongdoer of unjust enrichment, and to
 9 deter others from violating securities laws by making violations unprofitable; a
10 district court has broad equity powers to order the disgorgement of ill-gotten gains
11 obtained through violation of the securities laws. SEC v. Platforms Wireless, 617
12 F.3d 1072, 1096 (9th Cir. 2010); SEC v. First Pacific Bancorp, 142 F.3d 1186, 1191
13 (9th Cir. 1998). In Liu v. SEC, the Supreme Court recently reaffirmed the
14 Commission’s authority to seek and the Court’s authority to order disgorgement “that
15 does not exceed a wrongdoer’s net profits and is awarded for victims.” Liu v. SEC,
16 140 S. Ct. 1936, at 1940 (2020); see SEC v. Janus Spectrum LLC, Nos. 17-17042, 18-
17 15403, 2020 U.S. App. LEXIS 20710, at *3 (9th Cir. July 1, 2020).
18         Liu did not disturb the principle that “[d]isgorgement need be ‘only a
19 reasonable approximation of profits causally connected to the violation.’” Platforms
20 Wireless, 617 F.3d at 1096 (quoting SEC v. First Pac. Bancorp, 142 F.3d 1186, 1191
21 (9th Cir. 1998)); SEC v. Mizrahi, No. CV 19-2284 PA (JEMX), 2020 WL 6114913,
22 at *1 (C.D. Cal. Oct. 5, 2020). Once the SEC has done this, the burden then shifts to
23 the defendants to “demonstrate that the disgorgement figure was not a reasonable
24 approximation.” Platforms Wireless, 617 F.3d at 1096, quoting SEC v. First City
25 Financial Corp., Ltd., 890 F.2d 1215, 1232 (D.C. Cir. 1989).
26         Additionally, disgorgement normally includes prejudgment interest calculated
27 based on the rate provided in 26 U.S.C. § 6621 for tax underpayments. See Platforms
28 Wireless, 617 F.3d at 1099. This “ensure[s] that the wrongdoer does not profit from

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1    the illegal activity,” SEC v. Cross Fin. Servs., Inc., 908 F. Supp. 718, 734 (C.D. Cal
2    1995), aff’d sub nom. SEC v. Colello, 139 F.3d 674 (9th Cir. 1998), and nothing in
3    Liu has disturbed this principle.
4                 4.     Civil penalties should be imposed
5          If the violation “involved fraud, deceit, manipulation, or deliberate or reckless
6    disregard of a regulatory requirement” and “such violation directly or indirectly
7    resulted in substantial losses or created a significant risk of substantial losses to other
8    persons” a third tier penalty may be imposed. See 15 U.S.C. §§ 80b-9(e). The
9    factors used to determine the appropriateness of an injunction are helpful when
10   assessing penalties. SEC v. Abacus International Holding Corp., [2001 Transfer
11   Binder] Fed. Sec. L. Rep. (CCH) ¶ 91, 542, 2001 U.S. Dist. LEXIS 12635, 2001 WL
12   940913, *5 (N.D. Cal. August 16, 2001).
13         F.     Bifurcated Issues
14         All relief is to be determined by the Court.
15         G.     Jury Trial
16         Defendants demanded a jury trial in their Answer to the SEC’s complaint
17   pursuant to Federal Rule of Civil Procedure 38(b). (Dkt. No. 16.)
18         H.     Attorneys’ Fees
19         The SEC does not seek attorney’s fees in this action.
20         I.     Abandonment of Issues
21         The SEC is not abandoning any of the claims pleaded in its complaint.
22
23    Dated: June 25, 2021
24                                                     /s/ Donald W. Searles
                                                      Donald W. Searles
25                                                    Douglas M. Miller
26                                                    Attorney for Plaintiff
                                                      Securities and Exchange Commission
27
28

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 1                                  PROOF OF SERVICE
 2   I am over the age of 18 years and not a party to this action. My business address is:
 3         U.S. SECURITIES AND EXCHANGE COMMISSION,
           444 S. Flower Street, Suite 900, Los Angeles, California 90071
 4         Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
 5   On June 25, 2021, I caused to be served the document entitled PLAINTIFF
     SECURITIES AND EXCHANGE COMMISSION’S MEMORANDUM OF
 6   CONTENTIONS OF FACT AND LAW on all the parties to this action addressed
     as stated on the attached service list:
 7
     ☐ OFFICE MAIL: By placing in sealed envelope(s), which I placed for
 8   collection and mailing today following ordinary business practices. I am readily
     familiar with this agency’s practice for collection and processing of correspondence
 9   for mailing; such correspondence would be deposited with the U.S. Postal Service on
     the same day in the ordinary course of business.
10
           ☐ PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
11   which I personally deposited with the U.S. Postal Service. Each such envelope was
     deposited with the U.S. Postal Service at Los Angeles, California, with first class
12   postage thereon fully prepaid.
13       ☐ EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
   regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
14 Angeles, California, with Express Mail postage paid.
15 ☐ HAND DELIVERY: I caused to be hand delivered each such envelope to the
   office of the addressee as stated on the attached service list.
16
   ☐ UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
17 by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
   deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
18 Los Angeles, California.
19 ☒ ELECTRONIC MAIL: By transmitting the document by electronic mail to
   the electronic mail address as stated on the attached service list.
20
   ☒ E-FILING: By causing the document to be electronically filed via the Court’s
21 CM/ECF system, which effects electronic service on counsel who are registered with
   the CM/ECF system.
22
   ☐ FAX: By transmitting the document by facsimile transmission. The
23 transmission was reported as complete and without error.
24         I declare under penalty of perjury that the foregoing is true and correct.
25    Date: June 25, 2021                        /s/ Donald W. Searles
26                                              Donald W. Searles
27
28

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 1                             SEC v. Stuart Frost, et al.
              United States District Court—Central District of California
 2                         Case No. 8:19-cv-01559-JLS-JDE
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